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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

IN RE: PALBOCICLIB PATENT

LITIGATION MDL No. 19-2912 (CFC)

PFIZER INC., WARNER-LAMBERT
COMPANY LLC, and PF PRISM IMB
B.V.,

Plaintiffs,

v. C.A. No. 20-1396 (CFC)

ZYDUS PHARMACEUTICALS
(USA) INC., ZYDUS WORLDWIDE
DMCC, and CADILA
HEALTHCARE, LTD.,

Defendants.

STIPULATION AND ORDER OF DISMISSAL
WHEREAS Plaintiffs Pfizer Inc., Warner-Lambert Company LLC, and PF
PRISM IMB B.V. (collectively, “Plaintiffs”) timely brought suit against defendants
Zydus Pharmaceuticals (USA) Inc., Zydus Worldwide DMCC, and Cadila
Healthcare Limited (collectively, “Zydus”) in this District, Civil Action No. 20-1396
(CFC), charging Zydus with, inter alia, infringement of U.S. Patent No. 10,723,730;
IT IS HEREBY STIPULATED by Plaintiffs and Zydus, subject to approval

of the Court that:
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1. All claims and counterclaims between Plaintiffs and Zydus are
dismissed without prejudice.

2. Each party shall bear its own costs, attorneys’ fees and expenses
incurred in connection with the claims and counterclaims dismissed by this Order.

3. The parties have entered into a settlement and license agreement with
respect to their respective claims (the “Settlement and License Agreement”). Zydus
will not make, have made, use, offer for sale or sell palbociclib capsules in 75, 100
and 125 mg strengths that are the subject of ANDA No. 213098 in the United States
except as provided for in the parties’ Settlement and License Agreement.

4. The Court retains jurisdiction over the parties to this action for purposes
of enforcing this Stipulation and Order of Dismissal and the Settlement and License
Agreement.

5. This Stipulation and Order shall not act as an adjudication on the merits.

6. The Clerk of the Court is directed to enter this Stipulation and Order of

Dismissal forthwith.
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Company LLC, and PF PRISM IMB B.V. and Cadila Healthcare Limited

November 19, 2021

sah
SO ORDERED this 22"day of — Noveslic , 2021.

Cl fp a,

CHIEF, UNITED’ STATES DISTRICT JUDGE

